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A bility: Integrity- Reliability

Highlights

Highlights of GAO-08-58, a report to the
Ranking Member, Subcommittee on
National Security and Foreign Affairs,
Committee on Oversight and Government
Reform, House of Representatives

Why GAO Did This Study

The 2006 U.S. National Security
Strategy stated that the United
States faces challenges from Iran,
including [ran’s proliferation
efforts and involvement in
international terrorism. To address
these concerns, the United States
employs a range of tools, including
diplomatic pressure, a military
presence in the Gulf, and sanctions.
A U.S. sanction is a unilateral
restriction or condition on
economic activity imposed by the
United States for reasons of foreign
policy or national security.

We were asked to review (1) U.S.
sanctions targeting Iran and their
implementation, (2) reported
sanction impacts, and (3) factors
limiting sanctions. To conduct the
review, we assessed trade and
sanction data, information on Iran’s
economy and energy sector, and
U.S. and international reports on
Iran, and discussed sanctions with
U.S. officials and Iran experts.

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Congress should consider requiring
the National Security Council, in
collaboration with key agencies, to
(1) assess data on Iran sanctions
and complete an overall baseline
assessment of sanctions, (2)
develop a framework for ongoing
assessments, and (3) periodically
report the results to Congress.

The Department of the Treasury
commented that it assesses the
impact of financial sanctions. We
now cite Treasury's assessments in
our report but conclude no overall
assessment of all U.S. sanctions
has been conducted.

To view the full product, including the scope
and methodology, click on GAQ-08-58.

For mare information, contact Joseph A.
Christoff at (202) 512-8979 or
christofij @ gao.gov.

IRAN SANCTIONS

Impact in Furthering U.S. Objectives Is Unclear and
Should Be Reviewed

What GAO Found

Since 1987, U.S. agencies have implemented numerous sanctions against Iran.
First, Treasury oversees a ban on U.S. trade and investment with [ran and filed
over 94 civil penalty cases between 2003 and 2007 against companies violating
the prohibition. This ban may be circumvented by shipping U.S. goods to Iran
through other countries. Second, State administers laws that sanction foreign
parties engaging in proliferation or terrorism-related activities with Iran.
Under one law, State has imposed sanctions in 111 instances against Chinese,
North Korean, Syrian, and Russian entities. Third, Treasury or State can use
financial sanctions to freeze the assets of targeted parties and reduce their
access to the U.S. financial system.

U.S. officials report that U.S. sanctions have slowed foreign investment in
Iran's petroleum sector, denied parties involved in Iran’s proliferation and
terrorism activities access to the U.S. financial system, and provided a clear
statement of U.S. concerns to the rest of the world. However, other evidence
raises questions about the extent of reported impacts. Since 2003, the Iranian
government has signed contracts reported at about $20 billion with foreign
firms to develop its energy resources. Further, sanctioned Iranian banks may
fund their activities in currencies other than the dollar. Moreover, while [ran
halted its nuclear weapons program in 2003, according to the November 2007
National Intelligence Estimate, it continues to enrich uranium, acquire
advanced weapons technology, and support terrorism. Finally, U.S. agencies
do not systematically collect or analyze data demonstrating the overall impact
and results of their sanctioning and enforcement actions.

Iran's global trade ties and leading role in energy production make it difficult
for the United States to isolate Iran and pressure it to reduce proliferation and
support for terrorism. For example, [ran’s overall trade with the world has
grown since the U.S. imposed sanctions, although this trade has fluctuated.
Imports rose sharply following the Iran-Iraq war in 1988 and then declined
until 1995; most export growth followed the rise in oil prices beginning in 2002
(see figure). This trade included imports of weapons and nuclear technology.
However, multilateral UN sanctions began in December 2006.

Iran's Total Exports and Imports, 1986-2006
Billions of 2006 dollars

80

70 Annual export
growth rate
60 |1987-2006: 8.6%

1987 U.S. ban on
40 imports from Iran

Annual import
growth rate
1987-2006: 7.0%

30 |

1995 U.S. ban on
U.S exports to Iran

1986 1988 1990 1992 1994 1996 1998 2000 2002 2004 2006

Source: GAO analysis of IMF Direction of Trade Statistics, May 2007. . =
United States Government Accountability Office

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Abbreviations

BIS Bureau of Industry and Security (Department of
Commerce)

CBP Customs and Border Protection (Department of Homeland
Security

CCL Commerce Control List

CRS Congressional Research Service

DHS Department of Homeland Security

DOD Department of Defense

EIA Energy Information Administration

EU European Union

FBI Federal Bureau of Investigation (Department of Justice)

GDP gross domestic product

IAEA Intemational Atomic Energy Agency

ICE Immigrations and Customs Enforcement (Department of
Homeland Security)

IEEPA International Emergency Economic Powers Act

ILSA Iran-Libya Sanctions Act of 1996

IMF International Monetary Fund

INKSNA Iran, North Korea, and Syria Nonproliferation Act

INPA Iran Nonproliferation Act of 2000

ISNA Iran and Syria Nonproliferation Act

IRGC Islamic Revolutionary Guard Corps

ITR Iranian Transaction Regulations

NSC National Security Council

ODNI Office of the Director of National Intelligence

OFAC Office of Foreign Assets Control (Department of the
Treasury)

PSV post-shipment verification

UAE United Arab Emirates

UN United Nations

UNSC United Nations Security Council

WMD weapons of mass destruction

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United States Government Accountability Office
Washington, DC 20548

December 18, 2007

The Honorable Christopher Shays

Ranking Member

Subcommittee on National Security and Foreign Affairs
Committee on Oversight and Government Reform
House of Representatives

Dear Mr. Shays:

The 2006 National Security Strategy stated that the challenges that Iran
presents to the United States include the country’s proliferation efforts,
involvement in international terrorism, opposition to the Middle East
peace process, and poor human rights record. To address these concerns,
the United States employs a range of tools, including diplomacy, a military
presence in the Gulf, and unilateral sanctions. The broad U.S. strategy is
intended to deter [ran from developing weapons of mass destruction,
acquiring advanced conventional weapons, and supporting terrorist
activities. Sanctions have played an important role in the U.S. approach to
confronting Iran. A U.S. “sanction” is any unilateral restriction or condition
on economic activity with respect to a foreign country or foreign entity
that is imposed by the United States for reasons of foreign policy or
national security.’

We reviewed (1) U.S. sanctions targeting Iran and their implementation,
(2) the reported impact of the sanctions, and (3) factors that affect the
ability of U.S. sanctions to reduce Iran's proliferation and terrorism-related
activities.

To determine implementation and assessment of U.S. sanctions involving
Iran, we identified and reviewed U.S. executive orders and laws that
established sanctions targeted at Iran. While we focused on Iran-specific
sanctions, we also reviewed financial sanctions that address proliferation
and terrorism concerns that the United States can use against any party,
including Iran, as well as United Nations (UN) sanctions. We reviewed
data identifying how often sanctions have been imposed. Further, to

‘The House Committee on Ways and Means defined “unilateral sanctions” as such in a
February 18, 1998, letter to the U.S. International Trade Commission Chairman.

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review assessments and information about sanction impacts and factors
influencing sanctions, we reviewed U.S. agency documents and analyzed
international trade, energy, and private sector data. We interviewed
experts on Iran regarding the sanctions and their impact. We further
reviewed documentation from the United Nations, Department of State,
and Congressional Research Service (CRS) that identifies current
proliferation and terrorism-related activities by Iran. We also reviewed
U.S. classified documents related to the imposition of sanctions; however,
no classified information is used in this report. On the development of
nuclear power and Iran's nuclear program, we reviewed information from
the Department of Energy and the International Atomic Energy Agency
(IAEA) and the November 2007 National intelligence Estimate on Iran. For
all objectives, we interviewed officials from the Departments of the
Treasury, State, Commerce, Defense (DOD), Justice, Homeland Security
(DHS), and Energy, as well as the Central Intelligence Agency. We
conducted our review from November 2006 to November 2007 in
accordance with generally accepted government auditing standards.
Appendix I contains a more detailed description of our scope and
methodology.

* «4; Since 1987, U.S. agencies have been implementing numerous sanctions

Results in Brief against Iran that fall into three categories. First, Treasury leads efforts to
implement a comprehensive U.S. trade and investment ban against Iran.’
Between 2003 and 2007, Treasury filed 94 civil penalty cases against
companies violating the ban. However, the ban may be circumvented by
exporters who ship U.S. goods to Iran through other countries. Second,
State administers sanction laws against foreign parties that engage in
proliferation or terrorism-related activities with Iran. State has imposed
sanctions under these laws to varying degrees. For example, under one
law, sanctions have been imposed in 111 instances. Almost one-half of
these cases involved Chinese entities selling sensitive goods to Iran. and
over 30 percent of all sanction cases under this law involved parties that
were sanctioned multiple times. According to a State official, entities
engaged in conventional arms transfers were the most widely sanctioned,
followed by those involved in chemical-biological, missile, and nuclear
activities. Under another law, sanctions have never been imposed. Third,
Treasury or State can designate parties that engage in proliferation or
terrorism-related activities involving Iran as subject to financial sanctions

"Exec. Order No. 13059, 62 Fed. Reg. 44,531 (Aug. 19, 1997).

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that freeze their assets and reduce their access to the U.S. financial
system.’

U.S. officials and experts report that U.S. sanctions have specific impacts
on Iran; however, the extent of such impacts is difficult to determine.
First, according to U.S. officials and experts, U.S. sanctions may have
slowed foreign investment in Iran’s petroleum sector, which hinders Iran’s
ability to fund its acquisition of prohibited items and terrorism-related
activities. Second, U.S. officials state that financial sanctions deny parties
involved in Iran's proliferation and terrorism activities access to the U.S.
financial system and complicate their support for such activities. For
example, in January 2007, the U.S. government sanctioned Bank Sepah as
a supporter of the proliferation of weapons of mass destruction, thereby
eliminating its access to the U.S. financial system and reducing its ability
to conduct dollar transactions. Third, U.S. officials have identified broad
impacts of sanctions, such as providing a clear statement of U.S. concerns
about Iran. However, other evidence raises questions about the extent of
reported economic impacts. Since 2003, the Iranian government has signed
contracts reported at approximately $20 billion with foreign firms to
develop its energy resources, though it is uncertain whether these
contracts will ultimately be carried out. In addition, sanctioned Iranian
banks may be able to turn to other financial institutions or fund their
activities in currencies other than the U.S. dollar. Moreover, while Iran
halted its nuclear weapons program in 2003, according to the November
2007 U.S. National Intelligence Estimate, it continues to acquire advanced
weapons components, enrich uranium, and support terrorism. Finally, U.S.
agencies do not assess the overall impact of sanctions. Except for
Treasury, the agencies, do not. collect data demonstrating the direct results
of their sanctioning and enforcement actions, such as the types of goods
seized under the trade ban or the subsequent actions of sanctioned
entities.

Iran's global trade ties and leading role in energy production make it
difficult for the United States to isolate Iran and pressure it to reduce
proliferation activities and support for terrorism; however, multilateral
efforts to target Iran have recently begun. From 1987 through 2006, Iran's
exports grew from $8.5 billion to $70 billion, while Iran’s imports grew

3See Exec. Order No. 13224, 66 Fed. Reg. 49.079 (Sept. 23. 2001); Exec. Order No. 13382. 70
Fed. Reg. 38,567 (June 28, 2005).

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from $7 billion to $46 billion.’ During that period, the annual real growth
rate of Iran’s exports was nearly 9 percent and about 7 percent for Iran’s
imports. Both exports and imports fluctuated during this period. For
example, imports rose sharply following the Iran-Iraq war in 1988, and
most of Iran’s export growth has occurred since 2002, coinciding with
sharp increases in oil prices. Iran's trade included imports of weapons and
nuclear technology. Second, global interest in purchasing and developing
Tran’s substantial petroleum reserves has kept Iran active in global
commerce. The growing worldwide demand for oil, coupled with high oil
prices and Iran’s extensive reserves, enabled Iran to generate more than
$50 billion in oil revenues in 2006. However, multilateral efforts targeting
Iran have recently begun. Beginning in December 2006, and again in March
2007, the UN Security Council (UNSC) adopted sanctions against Iran.*
Among other things, these sanctions prohibit UN member states from
supplying Iran with specific nuclear materials or technology, require them
to freeze the financial assets of certain Iranian individuals and companies
with ties to Iran's nuclear or ballistic programs, and ban the import of all
Iranian conventional arms.

We recommend that the Congress consider requiring the National Security
Council (NSC), in collaboration with the Departments of State, the
Treasury, Energy, and Commerce; the intelligence community; and U.S.
enforcement agencies to (1) collect, analyze, and improve data on Iran
sanctions and conduct a baseline assessment of the impact and use of the
sanctions; (2) develop a framework for assessing the ongoing impact of
U.S. sanctions, taking into consideration the contribution of multilateral
sanctions; and (3) report periodically to the Congress on the sanctions’
impact.

We provided a draft of this report to the Departments of State, the
Treasury. Commerce, Defense, Energy, Justice, and Homeland Security.
We also provided a draft to the NSC and the Office of the Director of
National Intelligence (ODNI). The Department of the Treasury provided a
formal response emphasizing that, as a result of financial pressure, Iran is
experiencing increasing isolation from the global community. The

“We are reporting global trade data in constant 2006 dollars. This reflects the real value of
Iran's trade. (See app. I for further explanation regarding the method used to adjust the
nominal trade figures reported by the International Monetary Fund [IMF] into 2006 dollars).

°S.C. Res. 1737, U.N. SCOR, 61° Sess., U.N. Doc. S/RES/1737 (2006); S.C. Res. 1747, U.N.
SCOR, 62 Sess., U.N. Doc. S/RES/1747 (2007).

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department also states that Iran continues to pursue nuclear capabilities
and ballistic missile technology and to fund terrorism. This comment
reinforces our finding that the overall impact of sanctions is unclear. In
addition, Treasury noted its assessments of the effectiveness of financial
sanctions. We revised the report to recognize that Treasury assesses the
impact of financial sanctions but maintain that an overall impact
assessment of all U.S. sanctions has not been undertaken. Treasury's letter
can be found in appendix V.

The Departments of State, the Treasury, Commerce, and Energy provided
written technical comments. We incorporated these comments into the
report as appropriate. The Department of Commerce submitted its
technical comments in a letter that is included in appendix VI. The NSC
provided brief oral comments and ODNI provided a classified response;
we considered this information and revised the report as appropriate. The
Departments of Defense, Justice, and Homeland Security provided no
comments on the draft report, though Homeland Security supported the
part of our Matter for Congressional Consideration that specifically
involves the department.

Background

Iran is a nation of strategic importance due to its central geographic
location and huge reserves of fossil fuels. Iran’s neighbors include Iraq and
Afghanistan, two countries with ongoing U.S. and coalition military
operations, and Pakistan and Turkey, key U.S. allies in the global war on
terrorism (see fig. 1). Furthermore, Iran borders both the Persian Gulf and
the Strait of Hormuz, through which roughly one-fifth of the global oil
supply is exported. According to the Department of Energy. Iran has the
third largest proven oil reserves in the world. Iran's oil export revenues
constitute about 80 percent of its total export revenue, and accounted for
nearly one-fifth of its gross domestic product (GDP) in 2004. High oil
prices in recent years have further boosted Iran’s oil export revenues.

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Figure 1; Map of Iran

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U.S.-Iranian relations have often been strained since the early years of the
Cold War. Following the U.S.-supported overthrow of Iran's prime minister
in 1953, the United States and others backed the regime of Shah
Mohammed Reza Pahlavi for a quarter century. Although it did much to
develop the country economically, the Shah’s government repressed
political dissent. In 1978, domestic turmoil swept the country as a result of
religious and political opposition to the Shah's rule, culminating in the
collapse of the Shah's government in February 1979 and the establishment
of an Islamic republic led by Supreme Leader Ayatollah Khomeini. In
November 1979, militant Iranian students occupied the American embassy
in Tehran with the support of Khomeini. Shortly thereafter, the United

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a

States broke diplomatic relations with Iran, which remain suspended to
this day.

U.S. Agencies
Implement Numerous
Sanctions Targeting
Iran

U.S. sanctions to deter Iran's proliferation and support for terrorism fall
into three categories. First, Treasury leads U.S. government efforts to
implement a comprehensive trade and investment ban against Iran.
Second, State is responsible for implementing several laws that sanction
foreign parties engaging in proliferation or terrorism-related transactions
with Iran. Third, Treasury or State can impose financial sanctions,
including a freeze on assets and a prohibition on access to U.S. financial
institutions, against parties who engage in proliferation or terrorism-
related activities with any party, including Iran. (See app. II for more
information regarding the timing and nature of U.S. and UN sanctions.)

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Treasury's Trade and
Investment Ban Prohibits
Virtually All U.S.
Commercial Ties with Iran,
but Transshipments May
Circumvent Ban

Treasury administers a ban on almost all U.S. trade or investment activity
involving Iran.’ The prohibitions of the trade and investment ban began
with a 1987 ban on Iranian imports and were followed by a 1995 ban on
U.S. exports to and investment in Iran. These prohibitions apply to U.S.
persons, including U.S. companies and their foreign branches, wherever
located.’ U.S. officials stated that the ban does not apply to independent.
foreign subsidiaries of U.S. companies.’ Non-U.S. persons are generally
exempt from the provisions of the ban.’ Trade sanctions against Iran were
eased in 2000 to allow for the purchase and import from Iran of carpets
and food products.” Further, the Trade Sanctions Reform and Export
Enhancement Act of 2000 lifted, subject to certain exceptions, U.S.
sanctions on commercial sales of food, agricultural commodities, and
medical products to several sanctioned countries, including Iran." The ban
also prohibits U.S. financial institutions from having direct banking

“A ban on imports of Iranian goods and services was enacted in October 1987 via Executive
Order 12613, 52 Fed. Reg. 41940 (Oct. 29, 1987). In March 1995, the President issued
Executive Order 12957, 60 Fed. Reg. 14615 (Mar. 15, 1995) prohibiting U.S. involvement
with petroleum development in Iran. Executive Order 12959, 60 Fed. Reg. 24757 (May 6,
1995) was issued 2 months later, banning specified exports and investment. Finally, on
August 19, 1997, the President signed Executive Order 13059, 62 Fed. Reg. 44531 (Aug. 19,
1997) which consolidated prior executive orders and prohibits virtually all trade and
investment activities with Iran by U.S. persons, wherever located.

*Executive Order 13059 defines “U.S. persons” as *...any United States citizen, permanent
resident alien, entity organized under the laws of the United States (including foreign
branches), or any person in the United States.”

®Some U.S. companies have come under scrutiny for dealings by their foreign subsidiaries
with Iran. For example, the U.S. company Halliburton announced in 2005 after criticism of
a subsidiary’s involvement with Lran that its subsidiaries had completed all contractual
commitments with Iran and that it would no longer operate there.

‘With some exceptions, the ban does prohibit foreign persons from reexporting sensitive
U.S.-origin goods. technology, or services to Iran. Executive Order No. 13059, § 2(b).
Sanctions were recently extended by the Department of Commerce's July 12, 2007, addition
of five Iranian entities to the Entity List. All reexports of any item subject to the Export
Administration Regulations now require an export license, with a presumption of denial, to
the listed entities.

"See Iranian Transaction Regulations: Licensing of Imports of, and Dealings in, Certain
Iranian-Origin Foodstuffs and Carpets. 65 Fed. Reg. 25,642 (May 3, 2000).

“Agriculture. Rural Development, Food and Drug Administration, and Related Agencies
Appropriations Act, 2001, Pub. L. No. 106-387, Title IX, § 906, 114 Stat. 1549, 1549A-69
(2000). This law enacted as U.S. policy the principle that commercial sales of food, other
agricultural products, medicine, and other medical products shall not be used as a tool to
conduct foreign policy or to address national security objectives.

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relationships with banks in Iran and banks owned or controlled by the
government of Iran.*

According to a Treasury official, the trade and investment ban is aimed at
making it more difficult for ran to procure U.S. goods, services, and
technology, including those that could be used for terrorism or
proliferation. The official further stated that, as with all U.S. economic
sanctions programs, the premise of the sanctions is to exact a price on the
sanctioned entity, which serves as an inducement to change the behavior
that threatens U.S. national security and foreign policy goals. Sanctions
also serve to make it more difficult for a sanctioned entity to pursue its
threatening conduct.

Treasury's Office of Foreign Assets Control (OFAC) administers the trade
and investment ban and is responsible for reviewing and licensing requests
to export or re-export goods to Iran, with most items subject to a general
policy of denial. OFAC is also responsible for conducting civil
investigations of sanctions violations, which can result in warning letters,
cease and desist orders, and civil penalties of up to $250,000 (or an amount
that is twice the amount of the transaction that is the basis for the
violation) imposed administratively. We found that Iran sanctions were
involved in 94 out of 425 civil penalty cases that OFAC assessed or settled
as a result of sanction violations between 2003 and 2007. In cases where
OFAC finds evidence of willful violations of the trade and investment ban,
it may refer those cases to other federal law enforcement agencies for
criminal investigation. Investigations of potential criminal violations can
be conducted by the Department of Commerce’s Bureau of Industry and
Security (BIS), DHS’s Immigration and Customs Enforcement (ICE), and
the Department of Justice’s Federal Bureau of Investigation (FBI),
sometimes acting jointly. Criminal prosecutions are pursued by the
Department of Justice. Under recently enacted legislation, criminal
penalties for violations of the trade and investment ban can range up to
$1,000,000 and (for natural persons) 20 years in jail.”

"Our previous work noted that sanctions can increase the costs of trade and finance to the
sanctioning nation (in this case, the United States) because it loses commercial
transactions and profits with the target nation. See GAO Economic Sanctions:
Effectiveness as Tools of Foreign Policy, GAO/NSIAD-92-106 (Washington, D.C. Feb. 19,
1992).

“International Emergency Economic Powers Enhancement Act, Pub. L. No. 110-96, § 2, 121
Stat. 1011 (2007) (codified at 50 U.S.C. § 1705).

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According to officials at key U.S. export enforcement agencies, the trade
ban may be circumvented by the transshipment of U.S. exports through
third countries. Officials identified several locations that serve as common
transshipment points for goods destined for Iran. These locations include
Germany, Malaysia, Singapore, the United Kingdom, and, according to
Commerce officials, the United Arab Emirates (UAE) in particular.

Two trends underscore the possibility that U.S. goods are being shipped to
Iran through the UAE. First is the considerable growth in U.S. trade flows
through the UAE. The United States has become the number one supplier
of imports to the UAE and Iran is the UAE’s largest trace partner.
Moreover, although trade statistics do not specify the portion of UAE
exports to Iran that are of U.S.-origin, the UAE transships a higher
proportion of its U.S. imports than other countries do. According to
Commerce officials transshipments have been a considerable problem in
terms of the effectiveness of sanctions in place against Iran. The second
trend is the high rate of unfavorable end-use checks for U.S. items
exported to the UAE. The Department of Commerce relies on post-
shipment verification (PSV) checks as its primary method of detecting and
preventing illegal transfers, including transshipments, of U.S.-origin
exports to Iran. However, according to Commerce officials, in August
2007, the UAE enacted a comprehensive export, reexport, and
transshipment control law to better enable the UAE to control
transshipment of sensitive goods through its ports. The law is too new to
assess its effectiveness. (Further information is classified.)

State Sanctions Foreign
Entities under Iran-
Specific Laws

Congress has taken steps to discourage trade by third-country parties with
Iran by enacting sanction laws that have a “secondary boycott” effect.
Three U.S. sanction laws discourage foreign parties from engaging in
proliferation or terrorism-related activities with Iran (see table 1). State
leads efforts to implement these laws and has imposed sanctions under
these laws to varying degrees.

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Table 1: U.S. Sanction Laws Targeting Iran

U.S. law

Sanctionable activities

Sanctions imposed against
foreign parties

Use of sanctions

Iran, North Korea, and Syria
Nonproliferation Act

Transfer to Iran of goods,
services, or technology listed in
various multilateral export control
arrangements or that contribute to
weapons of mass destruction or
missile programs.

Among other things, no U.S.
government procurement, no
U.S. assistance, no licenses for
exports from the United States to
the foreign party of defense or
dual-use items.

Sanctions are discretionary and
State has typically imposed
sanctions for a 2-year period.

Sanctions imposed 111
times since 2000 in Iran-
related cases, including:

« 52 instances against
Chinese parties,

« Qinstances against
North Korean parties,

« 8instances against
Syrian parties, and

« 7 instances against
Russian parties.

lran-lraq Arms Nonproliferation Act
of 1992°

Transfer to Iran of controlled
goods or technology so as to
contribute “knowingly and
materially” to Iran's efforts to
acquire destabilizing numbers
and types of advanced
conventional weapons.

Against persons:

No U.S. government
procurement or export licenses.

Against foreign countries:

Among other things, no U.S.
government assistance or
support for multilateral
development bank assistance.

Sanctions are mandatory and
are imposed for a 2-year period
against persons and for a 1-year
period against foreign countries.
The President also has the
authority to impose an additional
discretionary sanction against
foreign countries.

Sanctions imposed 12
times in 2002 and 2003.

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Sanctions imposed against

U.S. law Sanctionable activities foreign parties Use of sanctions

iran Sanctions Act® Investment of $20 million of more Two of the following options: Sanctions never
within a 12-month period that + no Export-Import Bank imposed, though State
directly and significantly assistance, officials note that the law
contributed to the enhancement has been used as a tool

* no export licenses to export
certain goods to sanctioned
parties,

* no loans or credits totaling
more than $5 million in a 12-
month period from U.S.
financial institutions,

of Iran's ability to develop its
petroleum resources.

Exports, transfers, or other
provision to Iran of any goods,
services, technology or other
items knowing that the provision
of such items would contribute

in diplomatic efforts.

materially to tran’s ability to * no U.S. goverment

acquire or develop chemical, procurement,

biological, or nuclear weapons or « for sanctioned financial
related technologies; or institutions, no designation as
destabilizing numbers and types a primary dealer in U.S.

of advanced conventional government debt instruments,
weapons. and may not serve as an

agent of the U.S. government
or as repository for U.S.
government funds, or

* additional sanctions, as
appropriate, to restrict imports
regarding the sanctioned
party.

Sanctions are mandatory and

are imposed for a period of not

less than 2 years.

Source: U.S. public laws, http//www.state.gov/Visn/c15231 him, Federal Register.

‘This law was enacted as the Iran Nonproliferation Act of 2000; Restriction on Extraordinary
Payments in Connection with the International Space Station, Pub. L. No. 106-178, 114 Stat. 38;
Syria was added to the act in 2005 by the Iran Nonproliferation Amendments Act of 2005, Pub. L. No.
109-112, §4, 119 Stat. 2366, 2369; and North Korea was added in 2006 by the North Korea
Nonproliferation Act of 2006, Pub. L. No. 109-2353, 120 Stat. 2015.

*Enacted by the National Defense Authorization Act for fiscal year 1993, Pub. L. No. 102-484, Title
XVI, 106 Stat. 2315, 2571-75 (1992). We are unable to distinguish between Iran and Iraq sanction
cases, as this information is classified.

‘This act was originally enacted as the lran-Libya Sanctions Act of 1996, Pub. L. No. 104-172, 110
Stat. 1541; Libya was removed from the law in 2006 by the Iran Freedom Support Act, Pub. L. No.
109-293, 120 Stat. 1344. Proliferation-related sanctionable activities were added to the law in 2006.

As table 1 shows, State has imposed sanctions against foreign parties,
including bans on U.S. government procurement opportunities and sales of
defense-related items, in 111 Iran-specific cases since 2000 under a law
currently known as the Iran, North Korea, and Syria Nonproliferation Act

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(INKSNA)." This law targets foreign persons that have transferred goods,
services, or technology to Iran that are listed on various multilateral
export control lists.’° According to a State official, entities engaged in
conventional arms transfers were the most widely sanctioned, followed by
those involved in chemical-biological, missile, and nuclear activities. Since
2000, almost half of the cases (52) involved Chinese parties, with North
Korean and Russian parties accounting for 9 and 7 cases, respectively. In
2007, Syrian parties were sanctioned in 8 cases. According to State
officials, in most cases, the full range of sanctions authorized under
INKSNA is imposed, and sanctions have been typically imposed for a 2-
year period. Over 30 percent of all sanction cases involve parties that were
sanctioned multiple times under the law—some, primarily Chinese firms, 3
or more times. According to a State official, such instances were the result.
of new proliferation activities by these firms. Because the law establishes
the sanctions that are available, the practical effect of continuing to
impose sanctions against the same parties is to extend the length of time
the sanctions are imposed and make the public aware of the firms
facilitating proliferation with Iran. State officials said that generally no
consideration of additional penalties or measures is given to parties who
have been sanctioned multiple times, although some of these entities have
been sanctioned under other sanction tools. However, State officials
emphasized that they raise concerns about the activities of such entities
with foreign govemments as appropriate.

In deciding to sanction an entity under INKSNA, State officials reported
that every 6 months they assess as many as 60,000 intelligence reports to
identify transfer cases that should be submitted to agencies for review.
State decides, on a discretionary basis, which parties to sanction following
a meeting chaired by the NSC that solicits input from DOD, Energy, and
Treasury and other agencies regarding the disposition of each case.
According to a State official, the Deputy Assistant Secretary-level
interagency group reviews cases to recommend whether the foreign
persons were reportable under the act, and if so, (1) whether there was
information establishing that a case was exempt from sanctions under the

“The Iran Nonproliferation Act of 2000 (INPA) was amended to include Syria in 2005 (the
Iran and Syria Nonproliferation Act, or ISNA), and North Korea in 2006, and is now known
as the Iran. North Korea, and Syria Nonproliferation Act of 2006 (INKSNA), Pub. L. No. 106-
178, 114 Stat. 38 (codified as amended at 50 U.S.C. § 1701 note).

The act refers to controls established under numerous multilateral export control lists,

including under the Australia Group, Chemical Weapons Convention, Missile Technology
Control Regime, Nuclear Suppliers Group, and the Wassenaar Arrangement.

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act, (2) whether to seek from the foreign person additional information
concerning the transfer or acquisition as provided for in the act, and (3)
whether sanctions under the act should be applied. The final decision
regarding the disposition of each case is made by the Deputy Secretary of
State. One State official noted that there have been several cases in which
State decided not to impose sanctions because of positive nonproliferation
actions taken by the foreign government responsible for the firm engaging
in the proliferation transfer. A foreign government punishing or
prosecuting the firm responsible for the transfer is one example of the
type of positive action that has resulted in a decision not to impose
penalties. Another reason why State may decide not to impose sanctions is
a concern that such an action, which is made public, may compromise the
intelligence “sources and methods” used to collect information on a
particular proliferation case. Once final decisions are made, State then
submits a classified report to Congress identifying parties that have
engaged in sanctionable activities and parties that will be sanctioned, and
ultimately publishes the names of sanctioned entities in the Federal
Register.'* (See appendix III for a detailed listing of these sanction cases.)

Under a second law, the Iran-Iraq Arms Nonproliferation Act of 1992”
(also shown in table 1), State has imposed sanctions 12 times. Under this
act, mandatory sanctions include prohibiting the export to Iran of all
goods specified on the Commerce Control List (CCL). State also can
impose sanctions against foreign parties, such as a ban on U.S.
government procurement opportunities or export licenses that knowingly
and materially contribute to Iran's efforts to acquire destabilizing numbers
and types of advanced conventional weapons. As with the Iran, North

‘The Department of State's International Security and Nonproliferation (ISN) Bureau was
in charge of this effort until 2007 when the department’s Verification, Compliance, and
Implementation (VCI) Bureau took over this responsibility.

"Pub. L. No. 102-484 (codified as amended at 50 U.S.C. § 1701 note).

“The Iran-Iraq Arms Nonproliferation Act applies to Iran specific sanctions against Iraq as
established in section 586G of the Iraq Sanctions Act of 1990, as contained in the Foreign
Operations, Export Financing, and Related Programs Appropriations Act, 1991, Pub. L. No.
101-513, §§ 586-586J, 104 Stat. 1979, 2047-55 (1990). These sanctions include a prohibition
on exports of items on the CCL, which falls within the Export Administration Regulations
and establishes all items that are determined to have a potential “dual use” — that is, a use
that has both a commercial and military or other strategic application. See 50 App. U.S.C.
§§ 2401-2420; 15 C.F.R. Pt. 774, Supp. 1. Such exports to Iran can only be allowed if a
presidential waiver is granted citing that a waiver is essential to the national interest of the
United States. See Pub. L No. 102-484, § 1606. State officials in the Economic, Energy and
Business Bureau (EEB), the bureau responsible for coordinating this waiver process,
report that such waivers are granted infrequently.

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Korea, and Syria Nonproliferation Act, decisions under this act include
interagency input from Commerce, Energy, and DOD, with State in the
lead and responsible for deciding which cases warrant imposition of
sanctions. In 2002, State imposed sanctions in 10 instances, 9 of which
were against Chinese parties." In 2003, sanctions were imposed against
two parties, one Jordanian and one Indian. No sanctions have been
imposed since 2003 primarily because, according to State officials, it is
difficult to establish that transfers were made by parties who knowingly
and materially contributed to Iran's proliferation.

Table 1 shows that State has not imposed sanctions against any party
under a third law—the Iran Sanciions Act—though State officials noted
that the law has been useful in raising U.S. concerns over Iran. The goal of
the Iran Sanctions Act (previously known as the Iran-Libya Sanctions Act
of 1996,” or ILSA) has been to deny Iran the financial resources to support
international terrorism or the development of weapons of mass
destruction (WMD) by limiting Iran’s ability to find, extract, refine, or
transport its oil resources, State considered sanctions on one occasion in
1998; however, the U.S. government granted waivers to the parties
involved.” In that instance, the U.S. government determined that the
investments of three foreign companies—Total (France), Gazprom
(Russia), and Petronas (Malaysia)-in the development of Iran's South Pars
gas field were sanctionable under ILSA. However, the Secretary of State
determined that it was important to the U.S. national interest to waive the
imposition of sanctions against these firms. In making this determination,
the Secretary considered factors such as the desire to build an effective
multilateral regime to deny Iran the ability to acquire WMD and support
acts of international terrorism. Further, the European Union (EU) had
concerns that the use of the act to impose sanctions would constitute
extraterritorial application of U.S. law. The possibility that the EU might
take this issue to the World Trade Organization for resolution played a role
in convincing the U.S. government to waive sanctions. In addition, a report
on the use of ILSA prepared by State and cleared by the NSC noted that

"For sanctions imposed under this act, we are unable to provide information that specifies
which sanctions were due to proliferation activities with Iran and which were due to
proliferation activities with Iraq. Such information is classified.

Pub. L. No. 104-172. Libya was removed from the act in 2006 by the Iran Freedom Support
Act, Pub. L. No. 109-293, and the act is now known as the Iran Sanctions Act.

Waivers are available under this act if the President determines that a waiver is important
to the U.S. national interest.

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